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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DIVISION OF TEXAS
                                  WACO DIVISION

VIDEOSHARE, LLC,

               Plaintiff,                      CIVIL ACTION NO. 6:21-cv-00254-ADA

      v.

META PLATFORMS, INC.,                          JURY TRIAL DEMANDED

               Defendant.


                 ORDER GRANTING JOINT MOTION FOR ENTRY OF
                        AMENDED SCHEDULING ORDER

      BEFORE THE COURT is the parties’ Joint Motion for Entry of Amended Scheduling

Order. The Court, having considered the Motion, GRANTS the Joint Motion for Entry of

Amended Scheduling Order. The Court hereby enters the following amended schedule:

 Current Deadline       Proposed Deadline   Event
                                            Deadline for the first of two meet and confers to
                                            discuss significantly narrowing the number of
                                            claims asserted and prior art references at issue.
                                            Unless the parties agree to the narrowing, they are
 August 29, 2022        November 28, 2022
                                            ordered to contact the Court’s Law Clerk to
                                            arrange a teleconference with the Court to resolve
                                            the disputed issues.

                                            Close of Fact Discovery.
 November 15, 2022 February 14, 2023
                                            Opening Expert Reports.
 December 23, 2022      March 23, 2023
                                            Rebuttal Expert Reports.
 January 31, 2023       May 2, 2023
                                            Close of Expert Discovery.
 February 28, 2023      May 30, 2023
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Current Deadline   Proposed Deadline   Event
                                       Deadline for the second of two meet and confers
                                       to discuss narrowing the number of claims
                                       asserted and prior art references at issue to triable
                                       limits. To the extent it helps the parties determine
                                       these limits, the parties are encouraged to contact
March 7, 2023      June 5, 2023
                                       the Court’s Law Clerk for an estimate of the
                                       amount of trial time anticipated per side. The
                                       parties shall file a Joint Report within 5 business
                                       days regarding the results of the meet and confer.

                                       Dispositive motion deadline and Daubert motion
March 14, 2023     June 29, 2023       deadline.

                                       Serve Pretrial Disclosures (jury instructions,
                                       exhibit lists, witness lists, discovery and
March 28, 2023     July 13, 2023
                                       deposition designations).

                                       Serve objections to pretrial disclosures/rebuttal
April 11, 2023     July 27, 2023       disclosures.

                                       Serve objections to rebuttal disclosures and file
April 18, 2023     August 3, 2023      motions in limine.

                                       File Joint Pretrial Order and Pretrial Submissions
                                       (jury instructions, exhibit lists, witness lists,
April 25, 2023     August 10, 2023     discovery and deposition designations); file
                                       oppositions to motions in limine.

                                       File Notice of Request for Daily Transcript or
                                       Real Time Reporting. If a daily transcript or real
                                       time reporting of court proceedings is requested
                                       for trial, the party or parties making said request
                                       shall file a notice with the Court and e-mail the
May 1, 2023        August 17, 2023
                                       Court Reporter, Kristie Davis at
                                       kmdaviscsr@yahoo.com.
                                       Deadline to meet and confer regarding remaining
                                       objections and disputes on motions in limine.

                                       File joint notice identifying remaining objections
                                       to pretrial disclosures and disputes on motion in
May 5, 2023        August 21, 2023
                                       limine.

                                       Final Pretrial Conference.
May 12, 2023       August 25, 2023
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Current Deadline   Proposed Deadline    Event
                                        Jury Selection/Trial.
May 15, 2023       August 28, 2023


     SIGNED this 20th day of August, 2022.



                                       ALAN D ALBRIGHT
                                       UNITED STATES DISTRICT COURT JUDGE
